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                                          May 14,2021
VIA ECF

Hon. Lewis A. Kaplan
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New York, NY 10007-1312

       Re        Daniel Kleeberg, Lisa Stein and Audrey Hays v. Estate of Lester Eber, et al'
                 Civ. Action No.: 16-cv-09517 -LAK-KHP

Dear Judge Kaplan,

       I am responding to the April 30,202!,letter filed by Plaintiffs'    counsel, Brian Brook, Esq.
His letter purports to request an expedited scheduling of a trial in this matter, and improperly seeks
to relitigaie issues raisei and already decided by Judge Parker in her original and reconsideration
summary judgment decisions.

        Judge parker, after twice looking at Plaintiffs'request for imposition of a constructive trust,
declined to-grant this remedy. Rather, she found significant intertwined issues of fact bearing
                                                                                                    on,
among ."uny other things, whether Lester Eber was unjustly      enriched when,   tn20l2,  he accepted
a tranJfer, in full compliance with UCC sec.9-620,of all the stock of an insolvent holding company
then owning the Eberi' Connecticut operating entity, Eber-CT, in satisfaction of millions of dollars
of secured loans made by Mr. Eber to the holding companies (as well as millions more of loans
and other financial accommodations made by him thereafter), all to save the Eber business from
collapse.

      Mr. Brook's letter also complains about the propriety of certain of Wendy Eber's actions
on behalf of the whole group of Eber companies. These allegations are either intentionally false
and materially misleading, or reflective of a lack of understanding of corporate finance and
corporate law.

        Mr. Brook is apparently of the mistaken belief that, if successful, his clients are entitled to
a direct equity interesf in Eber-CT. However, even if plaintiffs prevail in
                                                                             gaining equitable relief,
they would only huu. a direct equity interest in Eber Bros. & Co., Inc.   ("Eber   Bros''o), a dormant
holding company three layerc ubou. Eber-CT. Also, since Plaintiffs' claim is derivative, if
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           plaintiffs were to be awarded a"-ugB!,oirl$'g'3"f8'S5;;T"rt. to Eber Bros. wine and Liquor
           Corp. (..Eber W&L"), a dormant holding company subsidiary of Eber Bros. Critically, Eber W&L
           is heavily indebted to the Estate of Lester Eber. Mr. Brook wants to ignore those debts, but they
           would need to be repaid in full before Plaintiffs could get the benefit of any direct interest in Eber-
            CT or receive any damages.

                      put simply, all the actions complained about by Mr. Brook were undertaken for valid
            corporate reasons and were in the best interests of the Eber companies. Further, Wendy Eber is
            the president of Eber-CT    and intends to remain so. The company is not for sale'
                                              -
                    Eber-CT is a typical multi-generational small privately owned company. The predecessor
            to the current business was founded in l9l7.In 1960, Allen Eber brought his son Lester into the
            company and challenged him to learn the business. Lester went on to successfully run the business
            for ovei 45 years. Similarly, Lester brought Wendy into the family business in 2001, and
            challenged her to leam the business in the same way that he had. It has long been the expectation
            that WJndy would take over the running of the business one day. She was intimately involved in
            successfuliy dealing with the crisis that developed in 2007 when their now defunct New York
            business collapsed, she jointly managed Eber-CT since 2007, and she has been President for over
            eight years.

                    The COVID-I9 pandemic has been a challenge for all businesses, but Eber-CT is stable,
            and operating as notrnuily as could be expected under the current circumstances. Lester Eber's
            2020 deathcame sooner tlan expected. However, the Ebers' long term succession plan is working
                                                                                                       plans for the
            as intended. Wendy Eber intends to continue as President and has communicated her
            future to the company's employees, major suppliers, and to its lenders - and has their support.
            Judge parker's iecision iecognized that maintaining Eber-CT's corporate structure and
                          during the pendency of ttre litigation is vital to the company's stability and wellbeing.
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                  I look forward to discussing this matter with the Court              at our upcoming   pre-trial conference
            on May 18,202I.

                                                    RespectfullY submitted,




                                                        Colin D. Ramsey


            CDR:afh
            cc: Brian C. Brook, Esq. (via         ECn




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